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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK
_______________________________
JOSEPH A. LA BARBERA D.C.
2719 Genessee Street
Utica, New York 13501
                                          Civil Action No.
             Plaintiff,

       v.
                                                       Jury Trial Demanded
I CARE FINANCIAL
975 Cobb Pl Blvd NW
Kennesaw, GA 30144

            Defendant.
_______________________________

                                           COMPLAINT

       Plaintiff, Joseph A. La Barbera (“plaintiff”) brings this action on behalf of himself and all

others similarly situated, through his attorneys, and except as to those allegations pertaining to

plaintiff or his attorneys, which allegations are based upon personal knowledge, alleges the

following upon information and belief against defendant, I Care Financial (“defendant”).

PRELIMINARY STATEMENT

       1.       This case challenges defendant’s practices of sending unsolicited facsimiles.

       2.       The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2006, 47 U.S.C. § 227 (“JFPA” or the “Act”), and the regulations

promulgated under the Act, prohibits a person or entity from faxing or having an agent fax

advertisements without the recipient’s prior express invitation or permission. The JFPA provides

a private right of action and provides statutory damages of $500 per violation. Upon information

and belief, defendant has sent facsimile transmissions of unsolicited advertisements to plaintiff


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and the Class in violation of the JFPA, including, but not limited to, the facsimile transmission of

an unsolicited advertisement on February 5, 2015 (“the fax”), a true and correct copy of which is

attached hereto as Exhibit “A” and made a part hereof. The fax promotes the services of

defendant. Plaintiff avers that defendant has sent and continue to send unsolicited

advertisements via facsimile transmission in violation of the JFPA.

       3.       Unsolicited faxes damage the plaintiff and members of the class. A junk fax

recipient loses the use of its fax machine, paper, and in ink toner. An unsolicited fax wastes the

recipient’s valuable time that would have been spent on something else. A junk fax interrupts

the recipient’s privacy. Unsolicited faxes prevent fax machines from receiving authorized faxes,

prevent their use for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax

machines, and require additional labor to attempt to discern the source and purpose of the

unsolicited message.

       4.       On behalf of himself and all others similarly situated, plaintiff brings this case as a

class action asserting claims against defendant under the JFPA.

       5.       Plaintiff believes that this action is based upon a common nucleus of operative

fact because the facsimile transmissions at issue were and are being done in the same or similar

manner. This action is based on the same legal theory, namely liability under the JFPA. This

action seeks relief expressly authorized by the JFPA. (I) injunctive relief enjoining defendant,

their employees, agents, representatives, contractors, affiliates, and all persons and entities acting

in concert with them, from sending unsolicited advertisements in violation of the JFPA; and (ii)

an award of statutory damages in the minimum amount of $500 for each violation of the JFPA,

and to have such damages trebled, as provided by § 227(b)(3) of the Act.


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JURISDICTION AND VENUE

        6.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C. §

227.

        7.       This Court has personal jurisdiction over defendant because defendant transacts

business within this State, have made contracts within this state, and/or have committed tortious

acts within this State and otherwise have sufficient minimum contacts with the State of New

York.

        8.       Plaintiff, Joseph A. La Barbera is a New York resident with his principal place of

business in New York.

        9.       On information and belief, defendant, I Care Financial is a Georgia corporation

with its principal place of business located at975 Cobb Pl Blvd NW, Kennesaw, Georgia 30144.

        10.      On or about February 5, 2015, defendant transmitted by telephone facsimile an

advertisement. See Exhibit “A”.

        11.      Defendant created or made Exhibit “A” which defendant knew or should have

known is a good or product which defendant intended to and did in fact distribute to plaintiff and

the other members of the class.

        12.      Exhibit “A” is part of defendant’s work or operations to market defendant’s

services which were performed by defendant and on behalf of defendant. Therefore, Exhibit “A”

constitutes material furnished in connection with defendant’s work or operations.

        13.      Plaintiff had not invited or given permission to defendant to send the faxes.

        14.      On information and belief, defendant faxed the same and similar unsolicited

facsimiles to plaintiff and other recipients without express permission or invitation.


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       15.     There is no reasonable means for plaintiff (or any other class member) to avoid

receiving unauthorized faxes. Fax machines are left on and ready to receive the urgent

communications their owners desire to receive.

       16.     Defendant’s facsimiles did not display a proper opt-out notice as required by 47

C.F.R. § 64.1200.

CLASS ACTION ALLEGATIONS

       17.     In accordance with F.R.Civ.P. 23(b)(1), (b)(2) and (b)(3), plaintiff brings this

class action pursuant to the JFPA, on behalf of the following class of persons:

               All persons who (1) on or after four years prior to the filing of this
               action, (2) were sent telephone facsimile messages of material
               advertising the commercial availability of any property, goods, or
               services by or on behalf of defendant, (3) from whom defendant
               did not obtain prior express permission or invitation to send those
               faxes, and (4) did not display a proper opt-out notice.

       Excluded from the Class are the defendant, their employees, agents and members of the

Judiciary. Plaintiff reserves the right to amend the class definition upon completion of class

certification discovery.

       18.     Class Size (F.R.Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

such information and belief avers, that the number of persons and entities of the Plaintiff Class is

numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and

upon such information and belief avers, that the number of class members is at least forty.

       19.     Commonality (F.R.Civ.P. 23(a)(2)): Common questions of law and fact apply to

the claims of all class members. Common material questions of fact and law include, but are not

limited to, the following:



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               a)      whether the defendant sent unsolicited fax advertisements;

               b)      whether the defendant’s faxes advertised the commercial availability of

                       property, goods or services;

               c)      the manner and method the defendant used to compile or obtain the list of

                       fax numbers to which they sent Exhibit “A” and other unsolicited faxed

                       advertisements;

               d)      whether the defendant faxed advertisements without first obtaining the

                       recipient’s prior permission or invitation;

               e)      whether the defendant sent the faxed advertisements knowingly;

               f)      whether the defendant violated the provisions of 47 U.S.C. § 227 and the

                       regulations promulgated thereunder;

               g)      whether the faxes contain an “opt-out notice” that complies with the

                       requirements of § (b)(1)(C)(iii) of the Act, and the regulations

                       promulgated thereunder, and the effect of the failure to comply with such

                       requirements;

               h)      whether the defendant should be enjoined from faxing advertisements in

                       the future;

               i)      whether the plaintiff and the other members of the class are entitled to

                       statutory damages; and

               j)      whether the Court should award treble damages.

       20.     Typicality (F.R.Civ.P. 23(a)(3)): The plaintiff’s claims are typical of the claims of

all class members. The plaintiff received faxes sent by or on behalf of the defendant advertising


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goods and services of the defendant during the Class Period. The plaintiff is making the same

claims and seeking the same relief for itself and all class members based upon the same federal

statute. The defendant has acted the same or in a similar manner with respect to the plaintiff and

all the class members.

        21.     Fair and Adequate Representation (F.R.Civ.P. 23(a)(4)): The plaintiff will fairly

and adequately represent and protect the interests of the class. It is interested in this matter, has

no conflicts and has retained experienced class counsel to represent the class.

        22.     Need for Consistent Standards and Practical Effect of Adjudication (F.R.Civ.P.

23(b)(1)): Class certification is appropriate because the prosecution of individual actions by class

members would: (a) create the risk of inconsistent adjudications that could establish

incompatible standards of conduct fo the defendant and/or (b) as a practical matter, adjudication

of the plaintiff’s claims will be dispositive of the interests of class members who are not parties.

        23.     Common Conduct (F.R.Civ.P.23(b)(2)): Class certification is also appropriate

because the defendant has acted and refused to act in the same or similar manner with respect to

all class members thereby making injunctive and declaratory relief appropriate. The plaintiff

demands such relief as authorized by 47 U.S.C. § 227.

        24.     Predominance and Superiority (F.R.Civ.P. 23(b)(3)): Common questions of law

and fact predominate over any questions affecting only individual members, and a class action is

superior to other methods for the fair and efficient adjudication of the controversy because:

                a)       proof of the claims of the plaintiff will also prove the claims of the class

                         without the need for separate or individualized proceedings;

                b)       evidence regarding defenses of any exceptions to liability that the


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         defendant may assert and prove will come from the defendant’s records

         and will not require individualized or separate inquiries or proceedings;

    c)   the defendant have acted and are continuing to act pursuant to common

         policies or practices in the same or similar manner with respect to all class

         members;

    d)   the amount likely to be recovered by individual class members does not

         support individual litigation. A class action will permit a large number of

         relatively small claims involving virtually identical facts and legal issues

         to be resolved efficiently in one (1) proceeding based upon common

         proofs; and

    e)   This case is inherently manageable as a class action in that:

                (i)     the defendant identified persons or entities to receive the

                        fax transmissions and it is believed that the defendant’s

                        computer and business records will enable the plaintiff to

                        readily identify class members and establish liability and

                        damages;

                (ii)    liability and damages can be established for the plaintiff

                        and the class with the same common proofs;

                (iii)   statutory damages are provided for in the statute and are the

                        same for all class members and can be calculated in the

                        same or similar manner;

                (iv)    a class action will result in an orderly and expeditious


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                                       administration of claims and it will foster economics of

                                       time, effort and expense;

                               (v)     a class action will contribute to uniformity of decisions

                                       concerning the defendant’s practices; and

                               (vi)    as a practical matter, the claims of the class are likely to go

                                       unaddressed absent class certification.

               Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227, et seq.

       25.     The JFPA makes unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement...” 47 U.S.C. § 227(b)(1)(C).

         26.   The JFPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods or services which is transmitted to any

person without that person’s prior express invitation or permission in writing or otherwise.” 47

U.S.C. § 227(a)(5).

       27.     Opt-Out Notice Requirements. The JFPA strengthened the prohibitions against

the sending of unsolicited advertisements by requiring, in §(b)(1)(C)(iii) of the Act, that senders

of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

that contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”):

               1.      a statement that the recipient is legally entitled to opt-out of receiving

                       future faxed advertisements - knowing that he or she has the legal right to

                       request an opt-out gives impetus for recipients to make such a request, if


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                      desired;

               2.     a statement that the sender must honor a recipient’s opt-out request within

                      30 days and the sender’s failure to do so is unlawful - thereby encouraging

                      recipients to opt-out, if they did not want future faxes, by advising them

                      that their opt-out requests will have legal “teeth”;

               3.     a statement advising the recipient that he or she may opt-out with respect

                      to all of his or her facsimile telephone numbers and not just the ones that

                      receive a faxed advertisements from the sender - thereby instructing a

                      recipient on how to make a valid opt-out request for all of his or her fax

                      machines;

       The requirement of (1) above is incorporated from §(b)(D)(ii) of the Act. The

requirement of (2) above is incorporated from §(b(D)(ii) of the Act and rules and regulations of

the Federal Communications Commission (the “FCC”) in ¶31 of its 2006 Report and Order (In

the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act, Junk

Prevention Act ov 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and regulations took

effect on August 1, 2006). The requirements of (3) above are contained in §(b)(2)(E) of the Act

and incorporated into the Opt-Out Notice requirements via §(b)(2)(D)(ii). Compliance with the

Opt-Out Notice Requirements is neither difficult no costly. The Opt-Out Notice Requirements

are important consumer protections bestowed by Congress upon the owners of fax machines

giving them the right and means to stop unwanted faxed advertisements.

       28.     2006 FCC Report and Order. The JFPA, in §(b)(2) of the Act, directed the FCC

to implement regulations regarding the JFPA, including the JFPA’s Opt-Out Notice


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Requirements and the FCC did so in its 2006 Report and Order, which in addition provides

among other things:

               A.      The definition of, and the requirements for, an established business

relationship for purposes of the first of the three prongs of an exemption to liability under

§(b)(1)(C)(I) of the Act and provides that the lack of an “established business relationship”

precludes the ability to invoke the exemption contained in §(b)(1)(C) of the Act (See 2006 Report

and Order ¶¶8-12 and 17-20);

               B.      The required means by which a recipient’s facsimile telephone number

must be obtained for purposes of the second of the three prongs of the exemption under

§(b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements

precludes the ability to invoke the exemption contained in §(b)(1)(C) of the Act (See 2006 Report

and Order ¶¶13-16);

               C.      The things that must be done in order to comply with the Opt-Out Notice

Requirements for the purposes of the third of the three prongs of the exemption under

§(b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

precludes the ability to invoke the exemption contained in §(b)(1)(C) of the Act (See 2006 Report

and Order ¶¶24-34);

               D.      The failure of a sender to comply with the Opt-Out Notice Requirements

precludes the sender from claiming that a recipient gave “prior express permission or invitation”

to receive the sender’s fax (See Report and Order ¶48);

       As a result thereof, a sender of a faxed advertisement who fails to comply with the Opt-

Out Notice Requirements has, by definition, transmitted an unsolicited advertisement under the


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JFPA. This is because such a sender can neither claim that the recipients of the faxed

advertisement gave “prior express permission or invitation” to receive the fax nor can the sender

claim the exemption from liability contained in §(b)(C)(1) of the Act.

       29.     The fax defendant sent on February 5, 2015 a facsimile transmission from

telephone facsimile machines, computers, or other devices to the telephone facsimile machines of

plaintiff and members of the plaintiff class. The fax constituted an advertisement under the Act.

Defendant failed to comply with the Opt-Out Requirements in connection with the Fax. The Fax

was transmitted to persons or entities without their prior express permission or invitation and/or

Defendant are precluded from asserting any prior express permission or invitation because of the

failure to comply with the Opt-Out Notice Requirements. By virtue thereof, defendant violated

the JFPA and the regulations promulgated thereunder by sending the Fax via facsimile

transmission to plaintiff and members of the class.

       30.     Defendant’s Other Violations. Plaintiff is informed and believes, and upon such

information and belief avers, that during the period preceding four years of the filing of this

Complaint and repeatedly thereafter, defendant have sent via facsimile transmission from

telephone facsimile machines, computers, or other devices to telephone facsimile machines of

members of the plaintiff class faxes that constitute advertisements under the JFPA that were

transmitted to persons or entities without their prior express permission or invitation (and/or that

defendant are precluded from asserting any prior express permission or invitation because of the

failure to comply with the Opt-Out Notice Requirements in connection with such transmissions).

By virtue thereof, defendant violated the JFPA and the regulations promulgated thereunder.

Plaintiff is informed and believes, and upon such information and belief avers, that defendant are


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continuing to send unsolicited advertisements via facsimile transmission in violation of the JFPA

and the regulations promulgated thereunder, and absent intervention by this Court, will do so in

the future.

        31.     The TCPA/JFPA provides a private right of action to bring this action on behalf

of plaintiff and the plaintiff class to redress defendant’s violations of the Act and provides for

statutory damages. 47 U.S.C. §227(b)(3). The Act also provides that the injunctive relief is

appropriate. Id.

        32.     The JFPA is a strict liability statute, so the defendant are liable to plaintiff and the

other class members even if their actions were only negligent.

        33.     The defendant knew or should have known that (a) the plaintiff and the other class

members had not given express invitation or permission for the defendant or anybody else to fax

advertisements about the defendant’s goods or services; (b) defendant transmitted an

advertisements; and (c) the faxes did not contain the required Opt-Out Notice.

        34.     The defendant’s actions caused damages to the plaintiff and the other class

members. Receiving the defendant’s junk faxes caused the recipients to lose paper and toner

consumed in the printing of the defendant’s faxes. Moreover, the defendant’s faxes used the

plaintiff’s fax machine. The defendant’s faxes cost the plaintiff time, as the plaintiff and its

employees wasted their time receiving, reviewing and routing the defendant’s unauthorized

faxes. That time otherwise would have been spent on the plaintiff’s business activities. The

defendant’s faxes unlawfully interrupted the plaintiff’s and other class members’ privacy from

the sending of defendant’s advertisements occurred outside of defendant’s premises.

        WHEREFORE, plaintiff, Joseph A. La Barbera D.C. individually and on behalf of all


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others similarly situated, demands judgment in his favor and against defendant, I Care Finanical

jointly and severally as follows:

                A.      That the Court adjudge and decree that the present case may be properly

maintained as a class action, appoint the plaintiff as a representative of the class and appoint the

plaintiff’s counsel as counsel for the class;

                B.      That the Court award actual monetary loss from such violations or the sum

of five hundred dollars ($500.00) for each violation, whichever is greater;

                C.      That Court enjoin the defendant from additional violations; and

                D.      That the Court award pre-judgment interest, costs and such further relief as

the Court may deem just and proper.

                                                Respectfully submitted,


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